                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MISSOURI


                                                )
    BARBARA JANE FRECK, GLORIA )
    ROBINSON, JALEEZA OWENS, and )
    LYNN MUSERELLI, individually and on )
    behalf of all others similarly situated,    )
                                                )
                                    Plaintiffs, )            CIVIL ACTION NO.:
                                                )
                    v.                          )            CLASS ACTION COMPLAINT
                                                )
    CERNER CORPORATION,                         )
    COMPENSATION COMMITTEE OF THE )                          JURY TRIAL DEMANDED
    CERNER CORPORATION BOARD OF                 )
    DIRECTORS, LINDA M. DILLMAN,                )
    JULIE L. GERBERDING, GEORGE A.              )
    RIEDEL, HALSEY WISE, WILLIAM D.             )
    ZOLLARS, CERNER CORPORATION                 )
    FOUNDATIONS RETIREMENT PLAN                 )
    ADMINISTRATIVE AND INVESTMENT )
    COMMITTEE, MARC G. NAUGHTON,                )
    and JOHN DOES 1-30.                         )
                                    Defendants.



        Plaintiffs Barbara Jane Freck, Gloria Robinson, Jaleeza Owens, and Lynn Muserelli

(“Plaintiffs”), by and through their attorneys, on behalf of the Cerner Corporation Foundations

Retirement Plan (the “Plan”),1 themselves and all others similarly situated, state and allege as

follows:

                                      I.      INTRODUCTION




1
  The Plan is a legal entity that can sue and be sued. ERISA § 502(d)(1), 29 U.S.C. § 1132(d)(1).
However, in a breach of fiduciary duty action such as this, the Plan is not a party. Rather, pursuant
to ERISA § 409, and the law interpreting it, the relief requested in this action is for the benefit of
the Plan and its participants.




           Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 1 of 52
       1.       This is a class action brought pursuant to §§ 409 and 502 of the Employee

Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1109 and 1132, against the

Plan’s fiduciaries, which include Cerner Corporation (“Cerner” or the “Company”), the

Compensation Committee of the Cerner Corporation Board of Directors (“Board”) and its

members during the Class Period, and the Cerner Corporation Foundations Retirement Plan

Administrative and Investment Committee (“Committee”) and its members during the Class

Period for breaches of their fiduciary duties.

       2.       Defined contribution retirement plans, like the Plan, confer tax benefits on

participating employees to incentivize saving for retirement. As of the end of 2015, Americans

had approximately $6.7 trillion in assets invested in defined contribution plans. See INVESTMENT

COMPANY INSTITUTE, Retirement Assets Total $24.0 Trillion in Fourth Quarter 2015 (Mar. 24,

2016), available at https://www.ici.org/research/stats/retirement/ret_15_q4; PLAN SPONSOR, 2015

Recordkeeping     Survey    (June    2015),      available   at   http://www.plansponsor.com/2015-

Recordkeeping-Survey/.

       3.       In a defined contribution plan, participants’ benefits “are limited to the value of

their own investment accounts, which is determined by the market performance of employee and

employer contributions, less expenses.” Tibble v. Edison Int’l, 135 S. Ct. 1823, 1826 (2015). Thus,

the employer has no incentive to keep costs low or to closely monitor the Plan to ensure every

investment remains prudent, because all risks related to high fees and poorly-performing

investments are borne by the participants.

       4.       To safeguard Plan participants and beneficiaries, ERISA imposes strict fiduciary

duties of loyalty and prudence upon employers and other plan fiduciaries. 29 U.S.C. § 1104(a)(1).

These twin fiduciary duties are “the highest known to the law.” Braden v. Wal-Mart Stores, Inc.,



                                                   2

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 2 of 52
588 F.3d 585, 598 (8th Cir. 2009). Fiduciaries must act “solely in the interest of the participants

and beneficiaries,” 29 U.S.C. § 1104(a)(1)(A), with the “care, skill, prudence, and diligence” that

would be expected in managing a plan of similar scope. 29 U.S.C. § 1104(a)(1)(B).

        5.     The Plan has over two billion dollars in assets that are entrusted to the care of the

Plan’s fiduciaries. The Plan’s assets under management qualifies it as a large plan in the defined

contribution plan marketplace, and among the largest plans in the United States. As a large plan,

the Plan had substantial bargaining power regarding the fees and expenses that were charged

against participants’ investments. Defendants, however, did not try to reduce the Plan’s expenses

or exercise appropriate judgment to scrutinize each investment option that was offered in the Plan

to ensure it was prudent.

        6.     Plaintiffs allege that during the putative Class Period (January 21, 2014 to the

present) Defendants, as “fiduciaries” of the Plan, as that term is defined under ERISA § 3(21)(A),

29 U.S.C. § 1002(21)(A), breached the duties they owed to the Plan, to Plaintiffs, and to the other

participants of the Plan by, inter alia, (1) failing to objectively and adequately review the Plan’s

investment portfolio with due care to ensure that each investment option was prudent, in terms of

cost; and (2) maintaining certain funds in the Plan despite the availability of identical or similar

investment options with lower costs and/or better performance histories.

        7.     To make matters worse, Defendants failed to utilize the lowest cost share class for

many of the mutual funds within the Plan, and failed to consider collective trusts, commingled

accounts, or separate accounts as alternatives to the mutual funds in the Plan, despite their lower

fees.

        8.     Defendants’ mismanagement of the Plan, to the detriment of participants and

beneficiaries, constitutes a breach of the fiduciary duties of prudence and loyalty, in violation of



                                                 3

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 3 of 52
29 U.S.C. § 1104. Their actions were contrary to actions of a reasonable fiduciary and cost the

Plan and its participants millions of dollars.

        9.     Based on this conduct, Plaintiffs assert claims against Defendants for breach of the

fiduciary duties of loyalty and prudence (Count One) and failure to monitor fiduciaries (Count

Two).

                               II.     JURISDICTION AND VENUE

        10.    This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because it is a civil action arising under the laws of the United States, and pursuant to 29

U.S.C. § 1332(e)(1), which provides for federal jurisdiction of actions brought under Title I of

ERISA, 29 U.S.C. § 1001, et seq.

        11.    This Court has personal jurisdiction over Defendants because they are

headquartered and transact business in this District, reside in this District, and/or have significant

contacts with this District, and because ERISA provides for nationwide service of process.

        12.    Venue is proper in this District pursuant to ERISA § 502(e)(2), 29 U.S.C.

§ 1132(e)(2), because some or all of the violations of ERISA occurred in this District and

Defendants reside and may be found in this District. Venue is also proper in this District pursuant

to 28 U.S.C. § 1391 because Defendants do business in this District and a substantial part of the

events or omissions giving rise to the claims asserted herein occurred within this District.

                                           III.    PARTIES

        Plaintiffs

        13.     Plaintiff Barbara Jane Freck (“Freck”) resides in Mullica Hill, New Jersey. During

her employment, Plaintiff Freck participated in the Plan investing in the options offered by the

Plan.



                                                  4

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 4 of 52
        14.    Plaintiff Gloria Robinson (“Robinson”) resides in Philadelphia, Pennsylvania.

During her employment, Plaintiff Robinson participated in the Plan investing in the options offered

by the Plan.

        15.    Plaintiff Jaleeza Owens (“Owens”) resides in Raytown, Missouri. During her

employment, Plaintiff Owens participated in the Plan investing in the options offered by the Plan.

        16.    Plaintiff Lynn Muserelli (“Muserelli”) resides in Troutdale, Oregon. During her

employment, Plaintiff Muserelli participated in the Plan investing in the options offered by the

Plan.

        17.    Each Plaintiff has standing to bring this action on behalf of the Plan because each

of them participated in the Plan and were injured by Defendants’ unlawful conduct. Plaintiffs are

entitled to receive benefits in the amount of the difference between the value of their accounts

currently, or as of the time their accounts were distributed, and what their accounts are or would

have been worth, but for Defendants’ breaches of fiduciary duty as described herein.

        18.    Plaintiffs did not have knowledge of all material facts (including, among other

things, the investment alternatives that are comparable to the investments offered within the Plan,

comparisons of the costs and investment performance of Plan investments versus available

alternatives within similarly-sized plans, total cost comparisons to similarly-sized plans,

information regarding other available share classes, and information regarding the availability and

pricing of separate accounts and collective trusts) necessary to understand that Defendants

breached their fiduciary duties and engaged in other unlawful conduct in violation of ERISA until

shortly before this suit was filed. Further, Plaintiffs did not have and do not have actual knowledge

of the specifics of Defendants’ decision-making process with respect to the Plan, including

Defendants’ processes (and execution of such) for selecting, monitoring, and removing Plan



                                                 5

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 5 of 52
investments, because this information is solely within the possession of Defendants prior to

discovery. Having never managed a large 401(k) plan such as the Plan, Plaintiffs lacked actual

knowledge of reasonable fee levels and prudent alternatives available to such plans. Plaintiffs did

not and could not review the Committee meeting minutes or other evidence of Defendants’

fiduciary decision making, or the lack thereof.2 For purposes of this Complaint, Plaintiffs have

drawn reasonable inferences regarding these processes based upon (among other things) the facts

set forth herein.

                 Defendants

                        Company Defendant

         19.     Cerner is the Plan sponsor. See 2018 Form 5500 at 1. Headquartered in North

Kansas City, Missouri, Cerner describes itself as helping to “shape the future of health care by

delivering value to our clients through data-driven insights and intelligent solutions.”3

         20.     At all times, the Company acted through its officers to perform Plan-related

fiduciary functions in the course and scope of their employment. According to the 2019 SPD,

“Cerner Corporation is the ‘Plan Administrator’ for the Plan” although it “has delegated much of

its responsibility for the day-to-day administration of the Plan to the Cerner Benefits Team. See

Cerner Corporation Foundations Retirement Plan Summary Plan Description, January 1, 2019

(“2019 SPD”) at 6. Indeed, the Company caused an amendment to the Plan “to be adopted by its




2
  See Braden, 588 F.3d at 598 (“If Plaintiffs cannot state a claim without pleading facts which tend
systematically to be in the sole possession of defendants, the remedial scheme of [ERISA] will
fail, and the crucial rights secured by ERISA will suffer.”) Indeed, several weeks prior to filing
the instant lawsuit, Plaintiffs requested that the Plan administrator produce meeting minutes of the
relevant Plan investment committee(s), but their request was denied.
3
    https://investors.cerner.com/investor-overview
                                                     6

           Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 6 of 52
duly authorized officer” Marc G. Naughton. See First Amendment to the Plan dated October 29,

2019.

        21.    Accordingly, the Company is a fiduciary of the Plan, within the meaning of ERISA

Section 3(21)(A), 29 U.S.C. § 1002(21)(A) for several reasons. First, the 2019 SPD states, the

“fiduciaries of the Plan include Cerner Corporation, the Trustee, and the Administrator.” 2019

SPD at 33.

        22.    Second, at least for a portion of the Class Period, in its role as Plan Administrator,

Cerner exercised discretionary authority and control over Plan management and/or authority or

control over management or disposition of Plan assets. Third, because Cerner appointed Plan

fiduciaries in its role as a Plan administrator and through the Board (see below) it was responsible

for monitoring those appointed fiduciaries.

        23.    Cerner also made discretionary decisions to make matching and profit-sharing

contributions (explained below) to Plan participants. 2019 SPD at 9, 12-14.

        24.    Lastly, as part of its fiduciary responsibilities, Cerner, as “the Administrator []

designated Fidelity Management Trust Company as the Plan’s recordkeeper.” 2019 SPD at 36.

Under ERISA, fiduciaries with the power to appoint have the concomitant fiduciary duty to

monitor and supervise their appointees.

               Board Defendants

        25.    The Company acted through the Board (defined above) to perform the Company’s

Plan-related fiduciary functions. In particular, as stated in the Charter for the Cerner Corporation

Foundations Retirement Plan Administrative and Investment Committee (“Committee Charter”),

the “Committee shall report to the Compensation Committee.” Id. at 1. Accordingly, the Board

had the fiduciary duty to monitor and supervise the Committee.



                                                 7

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 7 of 52
       26.       The Board also exercised discretion to authorize Cerner to contribute matching

contribution amounts to the Plan participants. See Plan Financial Statements with Independent

Auditor’s Report,” December 31, 2018 (“2018 Auditor Report”) at 5 (“percentage [of contribution]

is determined by the Company and approved by the Compensation Committee of the Board of

Directors based on attainment of Company financial metrics.”)

       27.       During the Class Period, the following employees of Cerner served on the Board

(as defined herein):

             •   Linda M. Dillman (“Dillman”) – chairperson

             •   Julie L. Gerberding (“Gerberding”)

             •   George A. Riedel (“Riedel”)

             •   Halsey Wise (“Wise”)

             •   William Zollars (“Zollars”)

       28.       Dillman, Gerberding, Riedel, Wise, Zollars, and each member of the Board during

the putative Class Period (referred to herein as John Does 1-10) is/was a fiduciary of the Plan,

within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A) during the Class Period,

because each exercised discretionary authority to appoint and/or monitor the Committee, which

had control over Plan management and/or authority or control over management or disposition of

Plan assets.

       29.       Defendants Dillman, Gerberding, Riedel, Wise, Zollars, together with any unnamed

members of the Compensation Committee of the Board of Directors for Cerner during the Class

Period are collectively referred to herein as the “Board Defendants.”




                                                 8

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 8 of 52
                 Committee Defendants

       30.       “The Committee shall be comprised of Cerner Corporation’s: (1) Chief Financial

Officer, Chair; (2) Chief People Officer, (3) Vice President of Cerner Benefits and Compensation;

and one other Corporation executive to be named by the other three members of the Committee.”

See Charter for the Cerner Corporation Foundations Retirement Plan Administrative and

Investment Committee (“Committee Charter”) at 1. Per the Committee Charter, “The Chief

Financial Officer, Chief People Officer and Vice President of Cerner Benefits and Compensation

shall each serve a perpetual term on the Committee.” Id. The other executive member only served

a three year term unless extended by the Committee. Id.

       31.       Among other things, the Committee is responsible for the following Plan functions:

             •   Select, monitor and manage the Plan’s third-party administrator, record keeper,

                 custodian and trustee.

             •   Monitor the compensation received by the Plan’s service providers.

             •   Adopt, review and carry-out investment policies and objectives for the Plan,

                 including maintaining the Plan’s investment Policy Statement.

             •   Review and select the investment options offered under the Plan.

             •   Select and monitor the Plan’s investment managers and fund providers.

             •   Monitor the performance of the Plan’s investment options.

             •   Carry out such special assignments as the Compensation Committee may, from

                 time to time, give to the Committee.

See Committee Charter at 2.




                                                 9

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 9 of 52
       32.     Permitted security types for Plan investment included “commingled bank trust

funds and separately managed accounts.”         See Investment Policy Statement for the Cerner

Corporation Foundations Retirement Plan (“IPS”)4 at 8.

       33.     During the Class Period Marc G. Naughton (“Naughton”) – Executive Vice

President and Chief Financial Officer of Cerner - served as a member of the Committee.

       34.     The Committee and each of its members, including Naughton, were fiduciaries of

the Plan during the Class Period, within the meaning of ERISA Section 3(21)(A), 29 U.S.C. §

1002(21)(A) because each exercised discretionary authority over management or disposition of

Plan assets.

       35.     The Committee and unnamed members of the Committee during the Class Period

(referred to herein as John Does 11-20), are collectively referred to herein as the “Committee

Defendants.”

               Additional John Doe Defendants

       36.     To the extent that there are additional officers and employees of Cerner who

are/were fiduciaries of the Plan during the Class Period, or were hired as an investment manager

for the Plan during the Class Period, the identities of whom are currently unknown to Plaintiffs,

Plaintiffs reserve the right, once their identities are ascertained, to seek leave to join them to the

instant action. Thus, without limitation, unknown “John Doe” Defendants 21-30 include, but are

not limited to, Cerner officers and employees who are/were fiduciaries of the Plan within the

meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A) during the Class Period.




4
 The amended IPS cited herein is effective as of January 1, 2019. The amendment does not
specify how, if at all, it differs from the prior IPS effective as of September 30, 2005.
                                                 10

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 10 of 52
                                          IV.     THE PLAN

       37.     The Plan was adopted by the Board of Directors of Cerner Corporation effective

November 1, 1987.” 2018 Auditor Report. “The Plan’s purpose is to provide Cerner associates

with the opportunity to save for their retirement….” IPS at 2; See also 2019 SPD at 6.

       38.     The Plan is a “defined contribution” or “individual account” plan within the

meaning of ERISA § 3(34), 29 U.S.C. § 1002(34), in that the Plan provides for individual accounts

for each participant and for benefits based solely upon the amount contributed to those accounts,

and any income, expense, gains and losses, and any forfeitures of accounts of the participants

which may be allocated to such participant’s account. Consequently, retirement benefits provided

by the Plan are based solely on the amounts allocated to each individual’s account.

       Eligibility

       39.     In general, “[a]ll associates of Cerner Corporation [] and its United States

subsidiaries are eligible for participation in the Plan upon attaining age 18” with limited exceptions

immaterial here. 2018 Auditor Report at 4.

       Contributions

       40.     There are several types of contributions that can be added to a participant’s account:

an employee salary deferral contribution, and employer matching contribution, and an employer

profit sharing contribution. 2018 Auditor Report at 4-5. Participants can also roll over amounts

from other qualified benefit or defined contribution plans. Id. at 4.

       41.     With regard to employee contributions, a participant may contribute “from 1% to

80% of their eligible compensation each year to the Plan.” Id.

       42.     The amount of and decision to make matching contributions are determined

annually by the Company. Id. Matching contributions are made in two tiers. The first tier equals



                                                 11

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 11 of 52
“33% of the participant’s deferral contribution.” Id. But no “first-tier match will be made on the

participant’s deferral contributions in excess of 6% of the participant’s eligible compensation.” Id.

The “first-tier match is discretionary” and the amounts “subject to change by the Plan

Administrator.” Id. Importantly, “[f[irst-tier match contributions are invested directly in Company

common stock” thus allowing the Company to derive some benefit from the match. Id.

       43.       “The Company, at its discretion, may elect to make a second-tier match to the

Plan.” Id. at 5. It appears that the “percentage is determined by the Company and approved by

the Compensation Committee of the Board of Directors based on attainment of Company financial

metrics.” Id.

       44.      Like other companies that sponsor 401(k) plans for their employees, Cerner enjoys

both direct and indirect benefits by providing matching contributions to Plan participants.

Employers are generally permitted to take tax deductions for their contributions to 401(k) plans at

the time when the contributions are made.             See generally https:/www.irs.gov/retirement-

plans/plan-sponsor/401k-plan-overview.

       45.      Cerner also benefits in other ways from the Plan’s matching program. It is well-

known that “[m]any employers match their employees’ contributions to the 401(k) plan in order

to help attract and retain talent at their company. By hiring and retaining employees with a high-

caliber of talent, [a company] may save money on training and attrition costs associated with

unhappy or lower-performing workers.”           See https://www.paychex.com/articles/employee-

benefits/employer-matching-401k-benefits.

       46.      Given the size of the Plan, Cerner likely enjoyed a significant tax and cost savings

from offering a match.

       Vesting



                                                 12

        Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 12 of 52
       47.     A participant is 100 percent vested at all times in “their contributions plus actual

earnings thereon.” 2018 Audit Report at 5. “Participants vest 20% in Company contributions after

one year of service and 20% for each additional year of service until a participant is 100% vested

upon completing five years of service. Participants become fully vested in their account balance

upon reaching normal retirement age (55), permanent disability, or death.” Id.

       The Plan’s Investments

       48.     Several funds were available to Plan participants for investment each year during

the putative Class Period, including several T.Rowe Price target date funds. As noted above, the

Committee determines the appropriateness of the Plan’s investment offerings and monitors

investment performance. For 2018, the Plan offered 25 investment options, including 22 mutual

funds valued at over a billion dollars, one collective trust fund, a stable value fund, Cerner common

stock, and a self-directed brokerage account valued at $88,105,000. Id. at p. 45 of 45.

       49.     The Plan’s assets under management for all funds as of January 2018 was

$2,281,571,146. See 2018 Form 5500. From 2014 to 2017 the Plan’s assets under management

ranged from $1.7 billion to $2 billion.

                             V.      CLASS ACTION ALLEGATIONS

       50.     Plaintiffs bring this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on behalf of themselves and the following proposed class (“Class”):5

               All persons, except Defendants and their immediate family
               members, who were participants in or beneficiaries of the Plan, at
               any time between January 21, 2014 and the present (the “Class
               Period”).




5
  Plaintiffs reserve the right to propose other or additional classes or subclasses in their motion for
class certification or subsequent pleadings in this action.

                                                  13

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 13 of 52
       51.     The members of the Class are so numerous that joinder of all members is

impractical. The 2018 Form 5500 filed with the Dept. of Labor lists 23,915 Plan “participants at

the beginning of the plan year.” Id. at p. 3.

       52.     Plaintiffs’ claims are typical of the claims of the members of the Class. Like other

Class members, Plaintiffs participated in the Plan and have suffered injuries as a result of

Defendants’ mismanagement of the Plan. Defendants treated Plaintiffs consistently with other

Class members, and managed the Plan as a single entity. Plaintiffs’ claims and the claims of all

Class members arise out of the same conduct, policies, and practices of Defendants as alleged

herein, and all members of the Class have been similarly affected by Defendants’ wrongful

conduct.

       53.     There are questions of law and fact common to the Class, and these questions

predominate over questions affecting only individual Class members. Common legal and factual

questions include, but are not limited to:

               A.      Whether Defendants are fiduciaries of the Plan;

               B.      Whether Defendants breached their fiduciary duties of loyalty and prudence

                       by engaging in the conduct described herein;

               C.      Whether the Board Defendants failed to adequately monitor the Committee

                       and other fiduciaries to ensure the Plan was being managed in compliance

                       with ERISA;

               D.      The proper form of equitable and injunctive relief; and

               E.      The proper measure of monetary relief.

       54.     Plaintiffs will fairly and adequately represent the Class, and have retained counsel

experienced and competent in the prosecution of ERISA class action litigation. Plaintiffs have no



                                                14

           Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 14 of 52
interests antagonistic to those of other members of the Class. Plaintiffs are committed to the

vigorous prosecution of this action, and anticipate no difficulty in the management of this litigation

as a class action.

        55.     This action may be properly certified under Rule 23(b)(1). Class action status in

this action is warranted under Rule 23(b)(1)(A) because prosecution of separate actions by the

members of the Class would create a risk of establishing incompatible standards of conduct for

Defendants. Class action status is also warranted under Rule 23(b)(1)(B) because prosecution of

separate actions by the members of the Class would create a risk of adjudications with respect to

individual members of the Class that, as a practical matter, would be dispositive of the interests of

other members not parties to this action, or that would substantially impair or impede their ability

to protect their interests.

        56.     In the alternative, certification under Rule 23(b)(2) is warranted because the

Defendants have acted or refused to act on grounds generally applicable to the Class, thereby

making appropriate final injunctive, declaratory, or other appropriate equitable relief with respect

to the Class as a whole.

                              VI.     DEFENDANTS’ FIDUCIARY STATUS
                                    AND OVERVIEW OF FIDUCIARY DUTIES

        57.     ERISA requires every plan to provide for one or more named fiduciaries who will

have “authority to control and manage the operation and administration of the plan.” ERISA §

402(a)(1), 29 U.S.C. § 1102(a)(1).

        58.     ERISA treats as fiduciaries not only persons explicitly named as fiduciaries under

§ 402(a)(1), 29 U.S.C. § 1102(a)(1), but also any other persons who in fact perform fiduciary

functions. Thus, a person is a fiduciary to the extent “(i) he exercises any discretionary authority

or discretionary control respecting management of such plan or exercise any authority or control

                                                 15

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 15 of 52
respecting management or disposition of its assets, (ii) he renders investment advice for a fee or

other compensation, direct or indirect, with respect to any moneys or other property of such plan,

or has any authority or responsibility to do so, or (iii) he has any discretionary authority or

discretionary responsibility in the administration of such plan.” ERISA § 3(21)(A)(i), 29 U.S.C.

§ 1002(21)(A)(i).

       59.     As described in the Parties section above, Defendants were fiduciaries of the Plan

because:

               (a)      they were so named; and/or

               (b)      they exercised authority or control respecting management or disposition of

                        the Plan’s assets; and/or

               (c)      they exercised discretionary authority or discretionary control respecting

                        management of the Plan; and/or

               (d)      they had discretionary authority or discretionary responsibility in the

                        administration of the Plan.

       60.     As fiduciaries, Defendants are/were required by ERISA § 404(a)(1), 29 U.S.C. §

1104(a)(1), to manage and administer the Plan, and the Plan’s investments, solely in the interest

of the Plan’s participants and beneficiaries and with the care, skill, prudence, and diligence under

the circumstances then prevailing that a prudent person acting in a like capacity and familiar with

such matters would use in the conduct of an enterprise of a like character and with like aims. These

twin duties are referred to as the duties of loyalty and prudence, and are “the highest known to the

law.” Braden v. Wal-Mart Stores, Inc., 588 F.3d 585, 598 (8th Cir. 2009).

       61.     The duty of loyalty requires fiduciaries to act with an “eye single” to the interests

of plan participants.    Pegram v. Herdrich, 530 U.S. 211, 235 (2000).          “Perhaps the most



                                                    16

           Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 16 of 52
fundamental duty of a [fiduciary] is that he [or she] must display . . . complete loyalty to the

interests of the beneficiary and must exclude all selfish interest and all consideration of the interests

of third persons.” Pegram, 530 U.S. at 224 (quotation marks and citations omitted). Thus, “in

deciding whether and to what extent to invest in a particular investment, a fiduciary must ordinarily

consider only factors relating to the interests of plan participants and beneficiaries . . . . A decision

to make an investment may not be influenced by [other] factors unless the investment, when judged

solely on the basis of its economic value to the plan, would be equal or superior to alternative

investments available to the plan.” Dep’t of Labor ERISA Adv. Op. 88-16A, 1988 WL 222716,

at *3 (Dec. 19, 1988) (emphasis added).

        62.     In effect, the duty of loyalty includes a mandate that the fiduciary display complete

loyalty to the beneficiaries, and set aside the consideration of third persons.

        63.     ERISA also “imposes a ‘prudent person’ standard by which to measure fiduciaries’

investment decisions and disposition of assets.” Fifth Third Bancorp v. Dudenhoeffer, 134 S. Ct.

2459, 2467 (2014) (quotation omitted). In addition to a duty to select prudent investments, under

ERISA a fiduciary “has a continuing duty to monitor [plan] investments and remove imprudent

ones” that exists “separate and apart from the [fiduciary’s] duty to exercise prudence in selecting

investments.” Tibble v. Edison Int’l, 135 S. Ct. 1823, 1828 (2015). “[A] fiduciary cannot free

himself from his duty to act as a prudent man simply by arguing that other funds . . . could

theoretically, in combination, create a prudent portfolio.” In re Amer. Int’l Grp., Inc. ERISA Litig.

II, No. 08-cv-5722, 2011 WL 1226459, at *4 (S.D.N.Y. Mar. 31, 2011) (quoting DiFelice v. U.S.

Airways, Inc., 497 F.3d 410, 418 n.3, 423-24 (4th Cir. 2007)).

        64.     In addition, ERISA § 405(a), 29 U.S.C. § 1105(a) (entitled “Liability for breach by

co-fiduciary”) further provides that:



                                                   17

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 17 of 52
                [I]n addition to any liability which he may have under any other
                provision of this part, a fiduciary with respect to a plan shall be liable
                for a breach of fiduciary responsibility of another fiduciary with
                respect to the same plan in the following circumstances: (A) if he
                participates knowingly in, or knowingly undertakes to conceal, an
                act or omission of such other fiduciary, knowing such an act or
                omission is a breach; (B) if, by his failure to comply with section
                404(a)(1), 29 U.S.C. §1104(a)(1), in the administration of his
                specific responsibilities which give rise to his status as a fiduciary,
                he has enabled such other fiduciary to commit a breach; or (C) if he
                has knowledge of a breach by such other fiduciary, unless he makes
                reasonable efforts under the circumstances to remedy the breach.

       65.      During the Class Period, Defendants did not act in the best interests of the Plan

participants. Investment fund options chosen for a plan should not favor the fund provider over

the plan’s participants.    Yet, here, to the detriment of the Plan and their participants and

beneficiaries, the Plan’s fiduciaries included and retained in the Plan many mutual fund

investments that were more expensive than necessary and otherwise were not justified on the basis

of their economic value to the Plan.

       66.      Based on reasonable inferences from the facts set forth in this Complaint, during

the Class Period Defendants failed to have a proper system of review in place to ensure that

participants in the Plan were being charged appropriate and reasonable fees for the Plan’s

investment options. Additionally, Defendants failed to leverage the size of the Plan to negotiate

lower expense ratios for certain investment options maintained and/or added to the Plan during the

Class Period.

       67.      As discussed below, Defendants breached fiduciary duties to the Plan and its

participants and beneficiaries, and are liable for their breaches and the breaches of their co-

fiduciaries under 29 U.S.C. § 1104(a)(1) and 1105(a).

                                VII.    SPECIFIC ALLEGATIONS

A.     Improper Management of an Employee Retirement Plan Can Cost the Plan’s

                                                   18

        Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 18 of 52
       Participants Millions in Savings

       68.     Under 29 U.S.C. § 1104(a)(1), a plan fiduciary must provide diversified investment

options for a defined-contribution plan while also giving substantial consideration to the cost of

those options. “Wasting beneficiaries’ money is imprudent. In devising and implementing

strategies for the investment and management of trust assets, trustees are obligated to minimize

costs.” Uniform Prudent Investor Act (the “UPIA”) § 7.

       69.     “The Restatement … instructs that ‘cost-conscious management is fundamental to

prudence in the investment function,’ and should be applied ‘not only in making investments but

also in monitoring and reviewing investments.’” Tibble v. Edison Int’l, 843 F.3d 1187, 1190 (9th

Cir. Dec. 30, 2016) (en banc) (quoting Restatement (Third) of Trust § 90, cmt. b). See also U.S.

Dep’t of Labor, A Look at 401(k) Plan Fees, (Aug. 2013), at 2, available at

https://www.dol.gov/ebsa/publications/401k_employee.html (last visited August 18, 2017) (“You

should be aware that your employer also has a specific obligation to consider the fees and expenses

paid by your plan.”). As the Ninth Circuit described, additional fees of only 0.18% or 0.4% can

have a large effect on a participant’s investment results over time because “[b]eneficiaries subject

to higher fees … lose not only money spent on higher fees, but also lost investment opportunity;

that is, the money that the portion of their investment spent on unnecessary fees would have earned

over time.” Tibble, 843 F.3d at 1190 (“It is beyond dispute that the higher the fees charged to a

beneficiary, the more the beneficiary’s investment shrinks.”).

       70.     Most participants in 401(k) plans expect that their 401(k) accounts will be their

principal source of income after retirement. See Brandon, Emily, “The Top 10 Sources of

Retirement    Income,”      available   at    http://money.usnews.com/money/blogs/planning-to-

retire/2014/05/13/the-top-10-sources-of-retirement-income (“The 401(k) is the major source



                                                19

        Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 19 of 52
people think they are going to rely on.”). Although at all times 401(k) accounts are fully funded,

that does not prevent plan participants from losing money on poor investment choices of plan

sponsors and fiduciaries, whether due to poor performance, high fees, or both.

       71.      In fact, the Department of Labor has explicitly stated that employers are held to a

“high standard of care and diligence” and must both “establish a prudent process for selecting

investment options and service providers” and “monitor investment options and service providers

once selected to see that they continue to be appropriate choices,” among other duties. See “A

Look at 401(k) Plan Fees,” supra.

       72.      The duty to evaluate and monitor fees and investment costs includes fees paid

directly by plan participants to investment providers, usually in the form of an expense ratio or a

percentage of assets under management within a particular investment. See Investment Company

Institute (“ICI”), The Economics of Providing 401(k) Plans: Services, Fees, and Expenses, (July

2016), at 4. “Any costs not paid by the employer, which may include administrative, investment,

legal, and compliance costs, effectively are paid by plan participants.” Id. at 5.

       73.      The fiduciary task of evaluating investments and investigating comparable

alternatives in the marketplace is made much simpler by the advent of independent research from

companies like Morningstar, which sorts mutual funds of all kinds into categories “based on the

underlying securities in each portfolio…We place funds in a given category based on their

portfolio    statistics   and    compositions     over    the    past    three       years.”   See

http://www.morningstar.com/InvGlossary/morningstar_category.aspx.6



6
  As described by Morningstar, these categories “were introduced in 1996 to help investors make
meaningful comparisons between mutual funds. Morningstar found that the investment objective
listed in a fund’s prospectus often did not adequately explain how the fund actually invested…[we]
solved this problem by breaking portfolios into peer groups based on their holdings. The categories
help investors identify the top performing funds, assess potential risk, and build well-diversified
                                                 20

        Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 20 of 52
       74.        On average, there are lower expense ratios for 401(k) participants than those for

other investors.     See The Economics of Providing 401(k) Plans, at 11.              ERISA-mandated

monitoring of investments leads prudent and impartial plan sponsors to continually evaluate

performance and fees, resulting in great competition among mutual funds in the marketplace.

Furthermore, the large average account balances of 401(k) plans, especially the largest ones as

measured by assets managed, lead to economies of scale and special pricing within mutual funds.

See id at 10.

       75.        This has led to falling mutual fund expense ratios for 401(k) plan participants since

2000. In fact, these expense ratios fell 31 percent from 2000 to 2015 for equity funds, 25 percent

for hybrid funds, and 38 percent for bond funds. See id. at 1.

       76.        The most recent comprehensive average mutual fund expense data for plans of

different sizes is from 2012, and industry analysts have recognized a marked trend toward lower

fees in 401(k)s over the past four years. See Anne Tergesen, 401(k) Fees, Already Low, Are

Heading         Lower,    WALL      STREET     JOURNAL       (May     15,    2016),     available    at

http://www.wsj.com/articles/401-k-fees-already-low-are-heading-lower-1463304601                (noting

precipitous drop in overall 401(k) fees from 2012 to 2014).

       77.        The following figure published by the ICI best illustrates that 401(k) plans on

average pay far lower fees than regular industry investors, even as expense ratios for all investors

continued to drop for the past several years.7




portfolios.” See The Morningstar Category Classifications (June 30, 2016), at 7. These categories
are assigned to mutual funds, variable annuities, and separate accounts. Id.
7
  This chart does not account for the strategy of a mutual fund, which may be to mirror an index,
a so-called passive management strategy, or may attempt to “beat the market” with more
aggressive investment strategies via active management. Active management funds tend to have
significantly higher expense ratios compared to passively managed funds because they require a
                                                   21

          Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 21 of 52
Id. at 12.

        78.    Prudent and impartial plan sponsors thus should be monitoring both the

performance and cost of the investments selected for their 401(k) plans, as well as investigating

alternatives in the marketplace to ensure that well-performing, low cost investment options are

being made available to plan participants.

                          1. Passively Managed Funds Cost Less Than Actively Managed
                             Funds

        79.    ERISA is derived from trust law. Tibble v. Edison, Int’l, 135 S. Ct. 1823, 1828.

(2015). Accordingly, the Supreme Court has stated that where ERISA is silent, courts should seek

guidance from trust law. Varity Corp v. Howe, 516 U.S. 489, 496-97 (1996). One such area is the

selection of appropriate funds for a plan. Trust law states it depends on “the type of trustee and

the nature of the breach involved, the availability of relevant data, and other facts and



higher degree of research and monitoring than funds which merely attempt to replicate a particular
segment of the market.

                                               22

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 22 of 52
circumstances of the case.” Restatement (Third) of Trusts § 100 cmt. b(1). To determine whether

a fiduciary has selected appropriate funds for the trust, appropriate comparators may include

“return rates of one or more suitable common trust funds, or suitable index mutual funds or market

indexes (with such adjustments as may be appropriate).” Id.

       80.        In this action, each investment option within the Plan charged certain fees, to be

paid by deductions from the pool of assets under management. For passively managed funds,

which are designed to mimic a market index such as Standard & Poor’s 500, securities were

purchased to match the mix of companies within the index. Because they are simply a mirror of

an index, these funds offer both diversity of investment and comparatively low fees.

       81.        By contrast, actively managed funds, which have a mix of securities selected in the

belief they will beat the market, have higher fees, to account for the work of the investment

managers of such funds and their associates.

       82.        While higher-cost mutual funds may outperform a less-expensive option, such as a

passively-managed index fund, over the short term, they rarely do so over a longer term. See

Jonnelle Marte, Do Any Mutual Funds Ever Beat the Market? Hardly, The Washington Post,

available    at    https://www.washingtonpost.com/news/get-there/wp/2015/03/17/do-any-mutual-

funds-ever-beat-the-market-hardly/ (citing a study by S&P Dow Jones Indices which looked at

2,862 actively managed mutual funds, focused on the top quartile in performance and found most

did not replicate performance from year to year); see also Index funds trounce actively managed

funds: Study, available at          http://www.cnbc.com/2015/06/26/index-funds-trounce-actively-

managed-funds-study.html (“long-term data suggests that actively managed funds “lagged their

passive counterparts across nearly all asset classes, especially over the 10-year period from 2004

to 2014.”)



                                                  23

        Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 23 of 52
       83.     Indeed, funds with high fees on average perform worse than less expensive funds,

even on a pre-fee basis. Javier Gil-Bazo & Pablo Ruiz-Verdu, When Cheaper is Better: Fee

Determination in the Market for Equity Mutual Funds, 67 J. Econ. Behav. & Org. 871, 873 (2009)

(hereinafter “When Cheaper is Better”); see also Jill E. Fisch, Rethinking the Regulation of

Securities Intermediaries, 158 U. Pa. L. Rev. 1961, 1967-75 (2010) (summarizing numerous

studies showing that “the most consistent predictor of a fund’s return to investors is the fund’s

expense ratio”).

   2. Institutional Share Classes Cost Less Than Investor Share Classes

       84.     Many mutual funds offer multiple classes of shares in a single mutual fund that are

targeted at different investors. Generally, more expensive share classes are targeted at smaller

investors with less bargaining power, while lower cost shares are targeted at institutional investors

with more assets, generally $1 million or more, and therefore greater bargaining power. There is

no difference between share classes other than cost—the funds hold identical investments and have

the same manager.

       85.     Large defined contribution plans such as the Plan have sufficient assets to qualify

for the lowest cost share class available. Even when a plan does not yet meet the investment

minimum to qualify for the cheapest available share class, it is well-known among institutional

investors that mutual fund companies will typically waive those investment minimums for a large

plan adding the fund in question to the plan as a designated investment alternative. Simply put, a

fiduciary to a large defined contribution plan such as the Plan can use its asset size and negotiating

power to invest in the cheapest share class available. For this reason, prudent retirement plan

fiduciaries will search for and select the lowest-priced share class available.




                                                 24

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 24 of 52
         86.    One recent article written by the head of a fiduciary consulting firm described the

failure to investigate the availability of and subsequently utilize the lowest-cost share class as an

“egregious fiduciary breach[]” that is responsible for “[w]asting plan assets” in a manner that is

“clearly imprudent.” Blaine Aikin (exec. chairman of fi360 Inc.), Recent Class-Action Surge Ups

the   Ante     for   401(k)   Advice,    INVESTMENTNEWS         (Jan.   21,   2016),    available    at

http://www.investmentnews.com/article/20160121/BLOG09/160129985/recent-class-action-

surge-ups-the-ante-for-401-k-advice.     Indeed, recently a court observed that “[b]ecause the

institutional share classes are otherwise identical to the Investor share classes, but with lower fees,

a prudent fiduciary would know immediately that a switch is necessary. Thus, the ‘manner that is

reasonable and appropriate to the particular investment action, and strategies involved…in this

case would mandate a prudent fiduciary – who indisputably has knowledge of institutional share

classes and that such share classes provide identical investments at lower costs – to switch share

classes immediately.” Tibble, et al. v. Edison Int. et al., No. 07-5359, slip op. at 13 (C.D. Cal.

Aug. 16, 2017).

         87.    As one commentator put it, “The fiduciaries also must consider the size and

purchasing power of their plan and select the share classes (or alternative investments) that a

fiduciary who is knowledgeable about such matters would select under the circumstances. In other

words, the ‘prevailing circumstances’—such as the size of the plan—are a part of a prudent

decision-making process.      The failure to understand the concepts and to know about the

alternatives could be a costly fiduciary breach.” Fred Reish, Just Out of Reish: Classifying Mutual

Funds,            PLAN         SPONSOR             (Jan.         2011),           available          at

http://www.plansponsor.com/MagazineArticle.aspx?id=6442476537.




                                                  25

          Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 25 of 52
       88.     This claim is not about the use of “retail mutual funds” versus the use of

“institutional mutual funds.” Retail mutual funds are perfectly acceptable and prudent choices

under certain circumstances. In some instances, a mutual fund company may only offer retail

mutual funds. Or, in other instances, the mutual fund company might restrict institutional share

classes in such a manner that would make it impossible to utilize the mutual funds. This claim is

instead about utilizing the lowest-cost class of shares that is available to the Plan.

   3. Collective Trusts And Separate Accounts Cost Less Than Their Virtually Identical
      Mutual Fund Counterparts

       89.     Throughout the Class Period, the investment options available to participants were

almost exclusively mutual funds, which are pooled investment products.

       90.     Plan fiduciaries such as Defendants here must be continually mindful of investment

options to ensure they do not unduly risk plan participants’ savings and do not charge unreasonable

fees. Some of the best investment vehicles for these goals are collective trusts, which pool plan

participants’ investments further and provide lower fee alternatives to even institutional and 401(k)

plan specific shares of mutual funds. As noted supra, trust law specifically identifies “one or more

suitable common trust funds” as a comparator to determine whether a trust is invested in suitable

investments. Restatement (Third) of Trusts § 100 cmt. b(1).

       91.     Collective trusts are administered by banks or trust companies, which assemble a

mix of assets such as stocks, bonds and cash. Regulated by the Office of the Comptroller of the

Currency rather than the Securities and Exchange Commission, collective trusts have simple

disclosure requirements, and cannot advertise nor issue formal prospectuses. As a result, their

costs are much lower, with less or no administrative costs, and less or no marketing or advertising

costs. See Powell, Robert, “Not Your Normal Nest Egg,” The Wall Street Journal, March 2013,

available at http://www.wsj.com/articles/SB10001424127887324296604578177291881550144.

                                                  26

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 26 of 52
         92.    Due to their potential to reduce overall plan costs, collective trusts are becoming

increasingly popular; Use of CITs in DC Plans Booming (discussing data showing that among both

mid-size and large defined contribution plans, significantly more assets are held in collective trusts

than in mutual funds).8 Indeed, as of 2012, among plans over $1 billion in size, more assets were

held in collective trusts than in mutual funds. See Investment Company Institute, A Close Look at

401(k)         Plans,      at        21,       23        (Dec.        2014),        available        at

https://www.ici.org/pdf/ppr_14_dcplan_profile_401k.pdf.

         93.    Thus, a prudent fiduciary managing a large plan will give serious consideration to

the use of separate accounts or collective trusts, and in the majority of cases, will opt to move out

of mutual funds.

         94.    Separate accounts are another type of investment vehicle similar to collective trusts,

which retain their ability to assemble a mix of stocks, bonds, real property and cash, and their

lower administrative costs.




8
  The criticisms that have been launched against collective trust vehicles in the past no longer
apply. Collective trusts use a unitized structure and the units are valued daily; as a result,
participants invested in collective trusts are able to track the daily performance of their investments
online. Use of CITs in DC Plans Booming; Paula Aven Gladych, CITs Gaining Ground in 401(k)
Plans,      EMPLOYEE         BENEFIT        NEWS         (Apr.     14,      2016),     available     at
http://www.benefitnews.com/news/cits-gaining-ground-in-401-k-plans (hereinafter CITs Gaining
Ground). Many if not most mutual fund strategies are available in collective trust format, and the
investments in the collective trusts are identical to those held by the mutual fund. Use of CITs in
DC Plans Booming; CITs Gaining Ground. And because collective trusts contract directly with
the plan, and provide regular reports regarding costs and investment holdings, the Plan has the
same level of protection that the Investment Company Act provides to individual investors, thus
eliminating the need for the protections of the Investment Company Act. Further, collective trusts
are still subject to state and federal banking regulations that provide comparable protections.
American Bankers Association, ABA Primer on Bank Collective Funds, June 2015, at 1, available
at                                           https://www.aba.com/Tools/Function/Trust/Documents/
ABA%20Primer%20on%20Bank%20Collective%20Investment%20Funds.pdf.


                                                    27

          Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 27 of 52
       95.     Separate accounts are widely available to large plans such as the Plan, and offer a

number of advantages over mutual funds, including the ability to negotiate fees. Costs within

separate accounts are typically much lower than even the lowest-cost share class of a particular

mutual fund.     By using separate accounts, “[t]otal investment management expenses can

commonly be reduced to one-fourth of the expenses incurred through retail mutual funds.” U.S.

Dep’t of Labor, Study of 401(k) Plan Fees and Expenses, at 17 (April 13, 1998), available at

https://www.dol.gov/ebsa/pdf/401kRept.pdf (reporting that by using separate accounts and similar

instruments, “[t]otal investment management expenses can commonly be reduced to one-fourth of

the expenses incurred through retail mutual funds”).

B.     Defendants Breached Their Fiduciary Duties in Failing to Investigate and Select
       Lower Cost Alternative Funds

       96.     The Supreme Court recently reaffirmed the ongoing fiduciary duty to monitor a

plan’s investment options in Tibble v. Edison, Int’l, 135 S. Ct. 1823 (2015). In Tibble, the Court

held that “an ERISA fiduciary’s duty is derived from the common law of trusts,” and that “[u]nder

trust law, a trustee has a continuing duty to monitor trust investments and remove imprudent ones.”

Id. at 1828. In so holding, the Supreme Court referenced with approval the Uniform Prudent

Investor Act, treatises, and seminal decisions confirming the duty.

       97.     The UPIA, which enshrines trust law, recognizes that “the duty of prudent investing

applies both to investing and managing trust assets. . . .” 135 S. Ct. at 1828 (quoting Nat’l

Conference of Comm’rs on Uniform State Laws, Uniform Prudent Investor Act § 2(c) (1994)).

The official comment explains that “‘[m]anaging embraces monitoring, that is, the trustee’s

continuing responsibility for oversight of the suitability of investments already made as well as the

trustee’s decisions respecting new investments.” Id. § 2 comment.




                                                 28

        Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 28 of 52
       98.     Under trust law, one of the responsibilities of the Plan’s fiduciaries is to “avoid

unwarranted costs” by being aware of the “availability and continuing emergence” of alternative

investments that may have “significantly different costs.” Restatement (Third) of Trusts ch. 17,

intro. note (2007); see also Restatement (Third) of Trusts § 90 cmt. B (2007) (“Cost-conscious

management is fundamental to prudence in the investment function.”). Adherence to these duties

requires regular performance of an “adequate investigation” of existing investments in a plan to

determine whether any of the plan’s investments are “improvident,” or if there is a “superior

alternative investment” to any of the plan’s holdings. Pension Ben. Gaur. Corp. ex rel. St. Vincent

Catholic Med. Ctrs. Ret. Plan v. Morgan Stanley Inv. Mgmt., 712 F.3d 705, 718-19 (2d Cir. 2013).

       99.     When large plans, particularly those with over a billion dollars in assets like the

Plan here, have options which approach the retail cost of shares for individual investors or are

simply more expensive than the average institutional shares for that type of investment, a careful

review of the plan and each option is needed for the fiduciaries to fulfill their obligations to the

plan participants.

       100.    The Plan has retained several actively-managed funds as Plan investment options

despite the fact that these funds charged grossly excessive fees compared with comparable or

superior alternatives, and despite ample evidence available to a reasonable fiduciary that these

funds had become imprudent due to their high costs. From 2013 to 2014 the Plan only utilized

two index funds: Fidelity 500 Index and Fidelity Extended Market Index. From 2015 to 2018 it

added the Vanguard Small Cap Index.

       101.    During the Class Period, the Plan lost millions of dollars in offering investment

options that had similar or identical characteristics to other lower-priced investment options.




                                                29

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 29 of 52
           102.   Upon information and belief, the majority of funds in the Plan stayed the same

during the Class Period. Taking 2017 as an example year, at least 16 out of 22 funds in the Plan –

a staggering 73% of funds, were much more expensive than comparable funds found in similarly-

sized plans (plans having over a billion dollars in assets). The expense ratios for funds in the Plan

in some cases were up to 72% (in the case of the Fidelity International Small Cap Opp fund) above

the median expense ratios in the same category. See BrightScope/ICI Defined Contribution Plan

Profile: A Close Look at 401(k) Plans, 2015 at 69 (March 2018) (hereafter, “ICI Study”).9

           103.   The comparison of the 73% of the funds described above are indicated below:




    Fund                 ER10                Category                   ICI Median Fee11



        TWUIX
       American              0.97%           Domestic Equity                  0.31%
    Century Ultra® I
        TROIX
                             0.66 %          International Equity             0.49%
     T. Rowe Price
    Overseas Stock I
         TRRHX
      T. Rowe Price          0.64 %              Target Date                  0.56%
     Retirement 2025

         TRRCX
      T. Rowe Price          0.67 %              Target Date                  0.56%
     Retirement 2030




9
    See https://www.ici.org/pdf/ppr_18_dcplan_profile_401k.pdf
10
   Because the funds in the Plan remained relatively unchanged from the beginning of the Class
Period to the present, the listed expense figures are taken from the most recent summary
prospectuses published in 2019.
11
     This median fee is taken from plans with over $1b in assets.
                                                  30

            Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 30 of 52
    TRRKX
 T. Rowe Price     0.72 %          Target Date           0.56%
Retirement 2045

    TRRDX
 T. Rowe Price     0.72 %                                0.56%
Retirement 2040                   Target Date

    TRRJX
 T. Rowe Price     0.70 %          Target Date           0.56%
Retirement 2035

    TRRMX
 T. Rowe Price     0.72 %          Target Date           0.56%
Retirement 2050

  WATFX
 Western Asset     0.45 %        Domestic Bond           0.18%
 Core Bond I

    TRRNX
 T. Rowe Price     0.72 %          Target Date           0.56%
Retirement 2055

    TRRBX
 T. Rowe Price     0.61 %          Target Date           0.56%
Retirement 2020

    AAGPX
American Beacon
                   0.92 %        Domestic Equity         0.31%
Large Cap Value
 Fund Investor

     FSCOX
    Fidelity®
                   1.11 %        Domestic Equity         0.31%
  International
 Small Cap Opp

    ABTIX
American Century
                                 Domestic Bond
Government Bond     0.27%                                0.18%
      R5

    TRRLX
 T. Rowe Price
Retirement 2060     0.72%         Target Date            0.56%




                                    31

      Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 31 of 52
    HLPXX
 JPMorgan Liquid
                            0.51 %             Money Market                     0.10%
  Assets Money
   Market Inv




       104.    The above comparisons understate the excessiveness of fees in the Plan throughout

the Class Period. That is because the ICI study was conducted in 2015 when expense ratios would

have been higher than today given the downward trend of expense ratios the last few years.

Accordingly, the median expense ratios in 2019 utilized by similar plans would be lower than

indicated above, demonstrating a greater disparity between the 2019 expense ratios utilized in the

above chart for the Plan’s current funds and the median expense ratios in the same category.

       105.    Further, median-based comparisons also understate the excessiveness of the

investment management fees of the Plan funds because many prudent alternative funds were

available that offered lower expenses than the median.

       106.    As demonstrated by the charts below, in several instances, Defendants failed to

prudently monitor the Plan to determine whether the Plan was invested in the lowest-cost share

class and/or collective trusts available for the Plan’s mutual funds, which are identical to the mutual

funds in the Plan in every way except for their lower cost.

       107.    For example, during the Class Period several funds in the Plan had identical lower

share counterparts that were never selected by the Plan’s fiduciaries. The chart below uses 2019

expense ratios, the most recent data available, to demonstrate how much more expensive the funds

were than their identical counterparts:




                                                  32

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 32 of 52
                             2019                               2019
                                       Lower Cost Share                    Investment       % Fee
     Fund in Plan            Exp.                               Exp.
                                            Class                             Style         Excess
                             Ratio                              Ratio

        FUSVX                                FXAIX
    Fidelity Spartan       0.04 %       Fidelity 500 Index               Domestic          100%
       500 Index                               Fund                      Equity
                                                              0.02 %

       TWUIX
                                            AULDX
   American Century                                                      Domestic
                           0.97 %      American Century                                    56%
    Ultra Fund Inv
                                      Ultra Fund R6 Class                Equity
         Class                                                0.62 %


        FSEVX                              FSMAX
  Fidelity Spartan Ext 0.07 %          Fidelity Extended                 Domestic          40%
           Mk                          Market Index Fund      0.05 %     Equity


                                            AADEX
       AAGPX
                                        American Beacon
   American Beacon                                                       Domestic
                      0.92 %            Large Cap Value                                    53%
   Large Cap Value
                                        Fund Institutional               Equity
  Fund Investor Class
                                              Class           0.60 %


       TGBAX                               FBNRX
                                                                         International
   Templeton Global        0.69 %       Templeton Global                                   21%
                                                                         Bond
      Bond Adv                             Bond R6
                                                              0.57 %



       108.    The above is for illustrative purposes only. At all times during the Class Period,

Defendants knew or should have known of the existence of cheaper share classes and therefore

also should have immediately identified the prudence of transferring the Plan’s funds into these

alternative investments.

       109.    Additionally, from 2015 until now the Plan’s fiduciaries could have offered the I-

share or collective trust versions of the T.Rowe Price target date funds which were less expensive

than the identical versions utilized by the Plan, but failed to do so. The chart below uses 2019

                                               33

        Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 33 of 52
expense ratios, the most recent data available, to demonstrate how much more expensive the Plan’s

funds were than their I-share/collective trust counterparts.

                            2019        Lower Cost Share          2019
                                                                              Investment       % Fee
       Fund in Plan         Exp.         Class/Collective         Exp.
                                                                                 Style         Excess
                            Ratio        Trust Analog12           Ratio
                                       TRPHX
     TRRHX                             T. Rowe Price                                          28%

     T. Rowe Price                     Retirement I 2025        0.50 %
                         0.64%                                              Target Date
     Retirement 2025                   Fund I Class
     Fund                              T.Rowe Price
                                                                                              39%
                                       Retirement Tr-A          .46%
                                       TRPCX
     TRRCX                             T. Rowe Price                                          26%
     T. Rowe Price                     Retirement I 2030
                         0.67%                                              Target Date
     Retirement 2030                   Fund I Class             0.53%
     Fund                              T.Rowe Price
                                                                                              46%
                                       Retirement Tr-A          .46%
                                       TRPDX
     TRRDX                             T. Rowe Price
                                                                                              24%
     T. Rowe Price                     Retirement I 2040
                         0.72 %        Fund I Class             0.58 %
     Retirement 2040                                                        Target Date
     Fund
                                       T.Rowe Price                                           57%
                                       Retirement Tr-A          .46%
                                       TRPKX
     TRRKX                             T. Rowe Price
                                                                                              22%
     T. Rowe Price                     Retirement I 2045
                         0.72 %        Fund I Class             0.59 %
     Retirement 2045                                                        Target Date
     Fund
                                       T.Rowe Price                                           57%
                                       Retirement Tr-A          .46%


12
   Where appropriate, each cell in this column references both a lower cost share class (identified
first) and a collective trust version of the fund (identified second). The listed expense figures are
taken from the most recent summary prospectuses published in 2019.

                                                 34

          Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 34 of 52
                           2019         Lower Cost Share        2019
                                                                            Investment       % Fee
     Fund in Plan          Exp.          Class/Collective       Exp.
                                                                               Style         Excess
                           Ratio         Trust Analog12         Ratio
                                      TRPJX
  TRRJX                               T. Rowe Price
                                                                                            25%
  T. Rowe Price                       Retirement I 2035
                         0.70 %       Fund I Class             0.56 %
  Retirement 2035                                                         Target Date
  Fund
                                      T.Rowe Price                                          52%
                                      Retirement Tr-A          .46%
                                      TRPMX
  TRRMX                               T. Rowe Price
                                                                                            22%
  T. Rowe Price                       Retirement I 2050
                         0.72 %       Fund I Class             0.59 %
  Retirement 2050                                                         Target Date
  Fund
                                      T.Rowe Price                                          57%
                                      Retirement Tr-A          .46%
                                      TRBRX
  TRRBX                               T. Rowe Price
                                                                                            30%
  T. Rowe Price                       Retirement I 2020
                         0.61 %       Fund I Class             0.47 %
  Retirement 2020                                                         Target Date
  Fund
                                      T.Rowe Price                                          33%
                                      Retirement Tr-A          .46%



       110.    The above is for illustrative purposes only. At all times during the Class Period,

Defendants knew or should have known of the existence of cheaper share classes and/or collective

trusts, and therefore also should have immediately identified the prudence of transferring the

Plan’s funds into these alternative investments.

       111.    As a large plan, the Plan had sufficient assets under management at all times during

the Class Period to qualify for lower share classes which often have a million dollars as the

minimum for a particular fund. “Investment minimums for [collective trusts] are often $10



                                                   35

        Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 35 of 52
million, but will vary.” See https://www.nb.com/en/us/insights/collective-investment-trusts-what-

you-need-to-know.

       112.    Purchase and sale of the I share class requires a $1 million minimum initial

investment and there is no minimum for additional purchases, although the initial investment

minimum generally is waived for financial intermediaries and retirement plans. Further, beginning

in 2017, T. Rowe Price lowered the minimum amount for investing in collective trusts to $20m.

Prior to that the minimum amount needed to qualify for a collective trust was $50m.

       113.    At all times during the Class Period, each of the T.Rowe Price funds had assets

under management that satisfied the minimum needed to qualify for I-share classes or collective

trusts. For illustrative purposes, the following T.Rowe Price funds had assets under management

of at least $20m as of the end of 2017:




                  Fund                    Category                     AUM
           TRRHX
 T. Rowe Price Retirement 2025
                                      Target Date                   $ 82,099,000
             Fund

           TRRCX
 T. Rowe Price Retirement 2030
                                      Target Date                   $ 78,733,000
             Fund

           TRRDX
 T. Rowe Price Retirement 2040
                                      Target Date                   $ 70,466,000
             Fund

           TRRKX
 T. Rowe Price Retirement 2045
                                      Target Date                   $ 69,499,000
             Fund

            TRRJX
 T. Rowe Price Retirement 2035
                                      Target Date                   $ 67,792,000
             Fund



                                                 36

        Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 36 of 52
           TRRMX
 T. Rowe Price Retirement 2050
                                       Target Date                      $ 62,068,000
             Fund

           TRRBX
 T. Rowe Price Retirement 2020
                                       Target Date                      $ 50,179,000
             Fund


        114.    There is no minimum initial investment amount for Y, R5 or R6 share classes for

American Century. And American Beacon has no minimum requirement for R6 shares.

        115.    A prudent fiduciary conducting an impartial review of the Plan’s investments would

have identified the cheaper share classes available and transferred the Plan’s investments in the

above-referenced funds into I shares or collective trusts at the earliest opportunity, especially given

that the IPS explicitly permitted investing in these types of funds. Yet, despite the availability of

lower-cost shares, Defendants did not transfer Plan holdings to any of these funds in breach of

their fiduciary duties.

        116.    Defendants were or should have been aware at all times during the Class Period of

the benefits of these alternative investment vehicles.

        117.    There is no good-faith explanation for utilizing high-cost share classes when lower-

cost share classes are available for the exact same investment. The Plan did not receive any

additional services or benefits based on its use of more expensive share classes; the only

consequence was higher costs for Plan participants.

        118.    The Plan also incurred excess fees due to Defendants’ failure to adequately

investigate the availability of collective trusts and/or separate accounts in the same investment

style of mutual funds in the Plan. Because of the Plan’s size, it could have reaped considerable

cost savings by using collective trusts or separate accounts, but Defendants again failed to

investigate this option.

                                                  37

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 37 of 52
         119.   Unlike mutual funds, which by law must charge the same fee to all investors,

separate account fee schedules are subject to negotiation. Industry data shows that actual fee

schedules on separate accounts are typically lower than advertised fee schedules, particularly when

the plan or investor has a large amount of assets to invest, as did the Plan here.

         120.   In summary, Defendants could have used the Plan’s bargaining power to obtain

high-quality, low-cost alternatives to mutual funds, in order to negotiate the best possible price for

the Plan. By failing to investigate the use of lower cost share classes Defendants caused the Plan

to pay millions of dollars per year in unnecessary fees.

         121.   Defendants also failed to consider materially similar but cheaper alternatives to the

Plan’s investment options. The chart below demonstrates that the expense ratios of the Plan’s

investment options were more expensive by multiples of comparable passively-managed and

actively-managed alternative funds in the same investment style. A reasonable investigation

would have revealed the existence of these lower-cost alternatives. The chart below uses 2019

expense ratios, the most recent data available, as a methodology to demonstrate how much more

expensive the Plan’s funds were than their alternative fund counterparts.



                            2019           Passive/Active         2019
                                                                              Investment        % Fee
     Fund in Plan           Exp.            Lower Cost            Exp.
                                                                                 Style          Excess
                            Ratio          Alternative13          Ratio
     TRRHX                             LIBKX
     T. Rowe Price                     BlackRock
                          0.64 %                                                               540%
     Retirement 2025                   LifePath® Index                      Target Date
     Fund                              2025 K                    0.10 %



13
   Where appropriate, each cell in this column references both a passively-managed fund
(identified first) and an actively-managed fund (identified second). The listed expense figures are
taken from the most recent summary prospectuses published in 2019.

                                                 38

          Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 38 of 52
                    2019       Passive/Active    2019
                                                          Investment   % Fee
Fund in Plan        Exp.        Lower Cost       Exp.
                                                             Style     Excess
                    Ratio      Alternative13     Ratio
                            JPMorgan Smart
                            Retirement Blend                           121%
                            2025 R6             0.29%


                            LINKX
                            BlackRock
                                                                       570%
TRRCX                       LifePath® Index
T. Rowe Price               2030 K              0.10 %
                  0.67 %
Retirement 2030                                          Target Date
Fund                        JPMorgan Smart
                            Retirement Blend
                            2030 R6             0.29%                  131%


                            LIKKX
                            BlackRock
                                                                       620%
TRRDX                       LifePath® Index
T. Rowe Price               2040 K              0.10 %
                  0.72 %
Retirement 2040                                          Target Date
Fund                        JPMorgan Smart
                            Retirement Blend                           148%
                            2040 R6             0.29%


                            LIHKX
                            BlackRock
                                                                       620%
TRRKX                       LifePath® Index
T. Rowe Price               2045 K              0.10 %
                  0.72 %
Retirement 2045                                          Target Date
Fund                        JPMorgan Smart
                            Retirement Blend                           148%
                            2045 R6             0.29%


TRRJX                       LIJKX
T. Rowe Price               BlackRock
                  0.70 %                                               600%
Retirement 2035             LifePath® Index              Target Date
Fund                        2035 K              0.10 %




                                    39

     Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 39 of 52
                       2019       Passive/Active      2019
                                                                Investment      % Fee
Fund in Plan           Exp.        Lower Cost         Exp.
                                                                   Style        Excess
                       Ratio      Alternative13       Ratio
                               JPMorgan Smart
                               Retirement Blend                                 141%
                               2035 R6               0.29%


                               LIPKX
                               BlackRock
                                                                                620%
TRRMX                          LifePath® Index
T. Rowe Price                  2050 K                0.10 %
                     0.72 %
Retirement 2050                                               Target Date
Fund                           JPMorgan Smart
                               Retirement Blend                                 148%
                               2050 R8               0.29%


                               LIMKX
                               BlackRock
                                                                                510%
TRRBX                          LifePath® Index
T. Rowe Price                  2020 K                0.10 %
                     0.61 %
Retirement 2020                                               Target Date
Fund                           JPMorgan Smart
                               Retirement Blend                                 110%
                               2020 R6               0.29%


TRRGX
                               LIMKX
T. Rowe Price
                     0.57 %    BlackRock                                        470%
Retirement 2015                                               Target Date
                               LifePath® Index
Fund
                               2015 K                0.10 %


TRRAX
T. Rowe Price                  BlackRock
                     0.54 %                                                     440%
Retirement 2010                LifePath® Index                Target Date
Fund                           2010 K
                                                     0.10 %


TWUIX                          Vanguard Growth
                     0.97 %                                                     2325%
American Century               Index Institutional   0.04%    Domestic Equity
Ultra Fund Inv Class


                                        40

      Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 40 of 52
                            2019           Passive/Active           2019
                                                                              Investment        % Fee
  Fund in Plan              Exp.            Lower Cost              Exp.
                                                                                 Style          Excess
                            Ratio          Alternative13            Ratio
                                        Vanguard US Growth
                                                                                               246%
                                        Admiral            0.28%


                                        VRVIX
                                        Vanguard Russell                                       1050%
 AAGPX                                  1000 Value Index I         0.08 %
 American Beacon        0.92 %
 Large Cap Value                                                            Domestic Equity
 Fund Investor Class                    Vanguard Equity
                                                                                               241%
                                        Income                     0.27%



       122.    The above is for illustrative purposes only as the significant fee disparities detailed

above existed for all years of the Class Period. The Plan expense ratios were multiples of what

they should have been given the bargaining power available to the Plan fiduciaries.

       123.    Moreover, the Plan’s fiduciaries cannot justify selecting actively managed funds

over passively managed ones. As noted above, while higher-cost mutual funds may outperform

a less-expensive option such as a passively-managed index fund over the short term, they rarely

do so over a longer term. With regard to this action in particular, there is objective evidence that

selection of actively managed funds over passively managed ones with materially similar

characteristics was unjustified. Comparing the five-year returns of some of the Plan’s actively

managed funds with those of comparable index (passively managed) funds with lower fees

demonstrates that accounting for fees paid, the actively managed funds lagged behind in

performance. The chart below indicates the efficiency of the active funds or lack thereof (i.e., the

return needed by the actively managed fund to match the returns of the passively managed fund):

        Fund Name/ Comparator                  Expense Return (5            Return Deficiency
                                               Ratio   Year)
        T. Rowe Price Retirement 2040          .7           8.94            Requires .27% more return
                                                                                  to be efficient

                                                    41

        Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 41 of 52
           BlackRock LifePath Index 2040 K        .10      8.56
           T. Rowe Price Retirement 2045          .71      9.09             Requires .42% more return
                                                                                  to be efficient
           BlackRock LifePath Index 2045 K        .10      8.92
           T. Rowe Price Retirement 2035          .68      8.63             Requires .10% more return
                                                                                  to be efficient
           BlackRock LifePath Index 2035 K        .10      8.03
           T. Rowe Price Retirement 2050          .71      9.08             Requires .46% more return
                                                                                  to be efficient
           BlackRock LifePath Index 2050 K        .10      9.03
           American Beacon Large Cap Value Fund   .95      7.59               Requires 2.14% more
           Investor Class                                                     return to be efficient

           Vanguard Russell 1000 Value Index      .07      8.26



         124.    Defendants’ failure to investigate lower cost alternative investments (both actively

and passively managed funds) during the Class Period cost the Plan and its participants millions

of dollars.

B.       Defendants Failed to Monitor or Control the Plan’s Recordkeeping Expenses

         125.    The term “recordkeeping” is a catchall term for the suite of administrative services

typically provided to a defined contribution plan by the plan’s “recordkeeper.” Beyond simple

provision of account statements to participants, it is quite common for the recordkeeper to provide

a broad range of services to a defined contribution plan as part of its package of services. These

services can include claims processing, trustee services, participant education, managed account

services, participant loan processing, QDRO14 processing, preparation of disclosures, self-directed

brokerage accounts, investment consulting, and general consulting services.               Nearly all

recordkeepers in the marketplace offer this range of services, and defined contribution plans have

the ability to customize the package of services they receive and have the services priced

accordingly. Many of these services can be provided by recordkeepers at very little cost. In fact,




14
     Qualified Domestic Relations Order.

                                                   42

          Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 42 of 52
several of these services, such as managed account services, self-directed brokerage, QDRO

processing, and loan processing are often a profit center for recordkeepers.

         126.   The market for recordkeeping is highly competitive, with many vendors equally

capable of providing a high-level service. As a result of such competition, vendors vigorously

compete for business by offering the best price.

         127.   On overage, administrative expenses – the largest of which, by far, is recordkeeping

– make up 18% of total plan fees. Investment Company Institute & Deloitte Consulting LLP,

Inside the Structure of Defined Contribution/401(k) Plan Fees, 2013, at 17 (Aug. 2014), available

at https://www.ici.org/pdf/rpt_14_dc_401k_fee_study.pdf

         128.   The cost of providing recordkeeping services depends on the number of participants

in a plan. Plans with large numbers of participants can take advantage of economies of scale by

negotiating a lower per-participant recordkeeping fee. Because recordkeeping expenses are driven

by the number of participants in a plan, the vast majority of plans are charged on a per-participant

basis.

         129.   Recordkeeping expenses can either be paid directly from plan assets, or indirectly

by the plan’s investments in a practice known as revenue sharing (or a combination of both).

Revenue sharing payments are payments made by investments within the plan, typically mutual

funds, to the plan’s recordkeeper or to the plan directly, to compensate for recordkeeping and

trustee services that the mutual fund company otherwise would have to provide.

         130.   Prudent fiduciaries implement three related processes to prudently manage and

control a plan’s recordkeeping costs. See Tussey v. ABB, Inc., 746 F.3d 327, 336 (8th Cir. 2014)

(“Tussey II”) (holding that fiduciaries of a 401(k) plan “breach[] their fiduciary duties” when they

“fail[] to monitor and control recordkeeping fees” incurred by the plan); George v. Kraft Foods



                                                   43

          Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 43 of 52
Glob., Inc., 641 F.3d 786, 800 (7th Cir. 2011) (explaining that defined contribution plan fiduciaries

have a “duty to ensure that [the recordkeeper’s] fees [are] reasonable”). First, they must pay close

attention to the recordkeeping fees being paid by the plan. A prudent fiduciary tracks the

recordkeeper’s expenses by demanding documents that summarize and contextualize the

recordkeeper’s compensation, such as fee transparencies, fee analyses, fee summaries, relationship

pricing analyses, cost-competitiveness analyses, and multi-practice and standalone pricing reports.

        131.    Second, in order to make an informed evaluation as to whether a recordkeeper or

other service provider is receiving no more than a reasonable fee for the services provided to a

plan, a prudent fiduciary must identify all fees, including direct compensation and revenue sharing

being paid to the plan’s recordkeeper. To the extent that a plan’s investments pay asset-based

revenue sharing to the recordkeeper, prudent fiduciaries monitor the amount of the payments to

ensure that the recordkeeper’s total compensation from all sources does not exceed reasonable

levels, and require that any revenue sharing payments that exceed a reasonable level be returned

to the plan and its participants.

        132.    Third, the plan’s fiduciaries must remain informed about overall trends in the

marketplace regarding the fees being paid by other plans, as well as the recordkeeping rates that

are available. This will generally include conducting a Request for Proposal (“RFP”) process at

reasonable intervals, and immediately if the plan’s recordkeeping expenses have grown

significantly or appear high in relation to the general marketplace. More specifically, an RFP

should happen at least every three to five years as a matter of course, and more frequently if the

plans experience an increase in recordkeeping costs or fee benchmarking reveals the

recordkeeper’s compensation to exceed levels found in other, similar plans. George, 641 F.3d 800;

Kruger v. Novant Health, Inc., 131 F. Supp. 3d 470, 479 (M.D.N.C. 2015).



                                                 44

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 44 of 52
       133.    Defendants have wholly failed to prudently manage and control the Plan’s

recordkeeping costs by failing to undertake any of the aforementioned steps. For example, the

Plan’s recordkeeper has been Fidelity Management Trust Company (“Fidelity”) since at least 2007

(with no change) and there is no evidence Defendants have undertaken an RFP since 2007 in order

to compare Fidelity’s costs with those of others in the marketplace. Defendants caused the Plan

to pay the following per participant recordkeeping costs during the Class Period:

                                                      Indirect Costs
                                                          through
           No. of                                         revenue
 Year      Participants           Direct Costs            sharing        P/P cost
   2018                   25846   $191,235.00         $1,373,103.00     $60.53
   2017                   23915   $175,016.00         $1,319,984.00     $62.51
   2016                   22165   $140,424.00         $1,314846.00      $65.66
   2015                   20433   $136,881.00         $1,211,150.50     $65.97
   2014                   15765   $111,466.00         $1,464,671.00     $99.98


       134.    The total amount of recordkeeping fees paid throughout the Class Period on a per

participant basis was astronomical. Based on Plaintiffs’ investigation and analysis, normal

recordkeeping fees for a two billion dollar plan like the Plan would have been less than $50 per

participant at the beginning of the Class Period and lower in ensuing years as a reflection of the

general trend of decreasing recordkeeping fees. See, e.g., Spano v. Boeing, Case 06-743, Doc.

466, at 26 (S.D. Ill. Dec. 30, 2014) (plaintiffs’ expert opined market rate of $37–$42, supported

by defendants’ consultant’s stated market rate of $30.42–$45.42 and defendant obtaining fees of

$32 after the class period); Spano, Doc. 562-2 (Jan 29, 2016) (declaration that Boeing’s 401(k)

plan recordkeeping fees have been $18 per participant for the past two years); George v. Kraft

Foods Global, Inc., 641 F.3d 786 (7th Cir. 2011) (plaintiffs’ expert opined market rate of $20–$27

and plan paid record-keeper $43–$65); Gordon v. Mass Mutual, Case 13-30184, Doc. 107-2 at



                                                 45

        Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 45 of 52
¶10.4 (D.Mass. June 15, 2016) (401(k) fee settlement committing the Plan to pay not more than

$35 per participant for recordkeeping).

       135.    Recordkeeping costs (as measured on a per participant basis) remained relatively

steady for the majority of the Class Period while the number of participants and Plan asset size

continued to grow during the Class Period, indicating the Plan’s fiduciaries failed to leverage the

growing size of the Plan (by both participants and/or assets) to achieve lower per participant costs.

       136.    Given the aforementioned facts, and in addition to the general trend towards lower

recordkeeping expenses in the marketplace as a whole, the Plan could have obtained recordkeeping

services that were comparable to or superior to the typical services that would have been provided

by Fidelity to the Plan. According to the Trust Agreement, Fidelity performed “recordkeeping and

administrative services for the Plan” provided those services were “ministerial in nature.” Trust

Agreement at 1. In other words, the services provided by Fidelity were nothing out of the ordinary.

       137.    A prudent fiduciary would have observed the excessive fees being paid to the

recordkeeper and taken corrective action. Defendants’ failures to monitor and control

recordkeeping compensation cost the Plan millions of dollars per year and constituted separate and

independent breaches of the duties of loyalty and prudence.

                                         FIRST CLAIM FOR RELIEF
                             Breaches of Fiduciary Duties of Loyalty and Prudence
                                 (Asserted against the Committee Defendants)

       138.    Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint as if fully set forth herein.

       139.    At all relevant times, the Committee Defendants (“Prudence Defendants”) were

fiduciaries of the Plan within the meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), in that




                                                 46

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 46 of 52
they exercised discretionary authority or control over the administration and/or management of the

Plan or disposition of the Plan’s assets.

       140.    As fiduciaries of the Plan, these Defendants were subject to the fiduciary duties

imposed by ERISA § 404(a), 29 U.S.C. § 1104(a). These fiduciary duties included managing the

assets of the Plan for the sole and exclusive benefit of Plan participants and beneficiaries, and

acting with the care, skill, diligence, and prudence under the circumstances that a prudent person

acting in a like capacity and familiar with such matters would use in the conduct of an enterprise

of like character and with like aims.

       141.    The Prudence Defendants breached these fiduciary duties in multiple respects as

discussed throughout this Complaint.        They did not make decisions regarding the Plan’s

investment lineup based solely on the merits of each investment and what was in the best interest

of Plan participants. Instead, the Prudence Defendants selected and retained investment options

in the Plan despite the high cost of the funds in relation to other comparable investments. The

Prudence Defendants also failed to investigate the availability of lower-cost share classes of certain

mutual funds in the Plan. In addition, the Prudence Defendants failed to investigate separate

accounts and/or collective trusts as alternatives to mutual funds, even though they generally

provide the same investment management services at a lower cost. Likewise, the Prudence

Defendants failed to monitor or control the grossly-excessive compensation paid for recordkeeping

services.

       142.    As a direct and proximate result of the breaches of fiduciary duties alleged herein,

the Plan suffered millions of dollars of losses due to excessive costs and lower net investment

returns. Had Defendants complied with their fiduciary obligations, the Plan would not have




                                                 47

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 47 of 52
suffered these losses, and Plan participants would have had more money available to them for their

retirement.

        143.    Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), the Prudence Defendants are

liable to restore to the Plan all losses caused by their breaches of fiduciary duties, and also must

restore any profits resulting from such breaches. In addition, Plaintiffs are entitled to equitable

relief and other appropriate relief for Defendants’ breaches as set forth in their Prayer for Relief.

        144.    The Prudence Defendants knowingly participated in each breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to commit

breaches by failing to lawfully discharge such Defendant’s own duties, and knew of the breaches

by the other Defendants and failed to make any reasonable and timely effort under the

circumstances to remedy the breaches. Accordingly, each Defendant is also liable for the breaches

of its co-fiduciaries under 29 U.S.C. § 1105(a).

                                         SECOND CLAIM FOR RELIEF
                                 Failure to Adequately Monitor Other Fiduciaries
                               (Asserted against Cerner and the Board Defendants)

        145.    Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint as if fully set forth herein.

        146.    Cerner and the Board Defendants (the “Monitoring Defendants”) had the authority

to appoint and remove members of the Committee, and were aware that the Committee Defendants

had critical responsibilities as fiduciaries of the Plan.

        147.    In light of this authority, the Monitoring Defendants had a duty to monitor the

Committee Defendants to ensure that the Committee Defendants were adequately performing their

fiduciary obligations, and to take prompt and effective action to protect the Plan in the event that

the Committee Defendants were not fulfilling those duties.



                                                   48

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 48 of 52
       148.    The Monitoring Defendants also had a duty to ensure that the Committee

Defendants possessed the needed qualifications and experience to carry out their duties (or used

qualified advisors and service providers to fulfill their duties); had adequate financial resources

and information; maintained adequate records of the information on which they based their

decisions and analysis with respect to the Plan’s investments; and reported regularly to Cerner and

the Board Defendants.

       149.    Cerner and the Board Defendants breached their fiduciary monitoring duties by,

among other things:

               (a)      Failing to monitor and evaluate the performance of the Committee

                        Defendants or have a system in place for doing so, standing idly by as the

                        Plan suffered significant losses as a result of the Committee Defendants’

                        imprudent actions and omissions;

               (b)      failing to monitor the processes by which Plan investments were evaluated,

                        their failure to investigate the availability of lower-cost share classes, and

                        their failure to investigate the availability of lower-cost separate account

                        and collective trust vehicles; and

               (c)      failing to remove Committee members whose performance was inadequate

                        in that they continued to maintain imprudent, excessively costly, and poorly

                        performing investments within the Plan, and caused the Plan to pay

                        excessive recordkeeping fees, all to the detriment of the Plan and Plan

                        participants’ retirement savings.

150.   As a consequence of the foregoing breaches of the duty to monitor, the Plan suffered




                                                  49

        Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 49 of 52
millions of dollars of losses. Had Cerner and the Board Defendants complied with their fiduciary

obligations, the Plan would not have suffered these losses, and Plan participants would have had

more money available to them for their retirement.

        151.    Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), Cerner and the Board Defendants

are liable to restore to the Plan all losses caused by their failure to adequately monitor the

Committee Defendants. In addition, Plaintiffs are entitled to equitable relief and other appropriate

relief as set forth in their Prayer for Relief.

                                                  JURY DEMAND

        152.    Plaintiffs demand a jury.

                                       PRAYER FOR RELIEF

        153.    WHEREFORE, Plaintiffs pray that judgment be entered against Defendants on all

claims and requests that the Court awards the following relief:

        A.      A determination that this action may proceed as a class action under Rule 23(b)(1),

or in the alternative, Rule 23(b)(2) of the Federal Rules of Civil Procedure;

        B.      Designation of Plaintiffs as Class Representatives and designation of Plaintiffs’

counsel as Class Counsel;

        C.      A Declaration that the Defendants, and each of them, have breached their fiduciary

duties under ERISA;

        D.      An Order compelling the Defendants to make good to the Plan all losses to the Plan

resulting from Defendants’ breaches of their fiduciary duties, including losses to the Plan resulting

from imprudent investment of the Plan’s assets, and to restore to the Plan all profits the Defendants

made through use of the Plan’s assets, and to restore to the Plan all profits which the participants

would have made if the Defendants had fulfilled their fiduciary obligations;



                                                    50

         Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 50 of 52
          E.    An order requiring the Company Defendants to disgorge all profits received from,

or in respect of, the Plan, and/or equitable relief pursuant to 29 U.S.C. § 1132(a)(3) in the form of

an accounting for profits, imposition of a constructive trust, or a surcharge against the Company

Defendant as necessary to effectuate said relief, and to prevent the Company Defendant’s unjust

enrichment;

          F.    Actual damages in the amount of any losses the Plan suffered, to be allocated

among the participants’ individual accounts in proportion to the accounts’ losses;

          G.    An order enjoining Defendants from any further violations of their ERISA fiduciary

responsibilities, obligations, and duties;

          H.    Other equitable relief to redress Defendants’ illegal practices and to enforce the

provisions of ERISA as may be appropriate, including appointment of an independent fiduciary or

fiduciaries to run the Plan and removal of Plan fiduciaries deemed to have breached their fiduciary

duties;

          I.    An award of pre-judgment interest;

          J.    An award of costs pursuant to 29 U.S.C. § 1132(g);

          K.    An award of attorneys’ fees pursuant to 29 U.S.C. § 1132(g) and the common fund

doctrine; and

          L.    Such other and further relief as the Court deems equitable and just.



Dated: January 21, 2020




                                                 51

           Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 51 of 52
                            Respectfully submitted,


                            CAPOZZI ADLER, P.C.


                            _/s/ Mark K. Gyandoh______


                            Mark K. Gyandoh, Esquire
                            (Pro hac vice to be requested)
                            Donald R. Reavey, Esquire
                            2933 North Front Street
                            Harrisburg, PA 17110
                            markg@capozziadler.com
                            donr@capozziadler.com
                            (717) 233-4101
                            Fax (717) 233-4103


                            WELDER BLUNT WELDER
                            & ASSOCIATES, LLC


                             /s/ Kristie Blunt Welder______

                            Kristie Blunt Welder, Esquire
                            MO Bar No. 61715
                            4741 Central Street, Suite 514
                            Kansas City, Missouri 64112
                            kwelder@welderfirm.com
                            (844) 935-3373
                            Fax (844) 935-3373

                            Counsel for Plaintiffs and
                            the Putative Class




                              52

Case 4:20-cv-00043-BCW Document 1 Filed 01/21/20 Page 52 of 52
